                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                                     NO. 5:19-cv-475-BO

 JASON WILLIAMS,                                 )
                           Plaintiff,            )
                                                 )
 v.                                              )     ORDER APPOINTING MEDIATOR
                                                 )
 AT&T MOBILITY,                                  )
                           Defendants.           )



       It appearing to the Court that counsel for the parties have selected Rene Stemple Trehy (Ellis), to
serve as their mediator.

       IT IS ORDERED, pursuant to Local Rule 101.1c(a), that Rene Stemple Trehy (Ellis) is appointed
mediator in the above-entitled action.

       IT IS FURTHER ORDERED, pursuant to Local Rule 101.1d(b), that the mediator shall confer
with the parties regarding scheduling of the mediated settlement conference, determine the place and time
of the conference, and give notice to the parties.

       FURTHER, when the mediated settlement conference is completed, the mediator shall submit the
Report of Mediator to the Clerk, pursuant to Local Rule 101.1e.

       Let copies of this order be sent to counsel for the parties and to the mediator

       This 12th day of June, 2020.

                                                     /s/ Peter A. Moore, Jr.
                                                     Clerk of Court




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